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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


CHRISTINA BAREFOOT
             Plaintiff
                                                  CIVIL ACTION NO. 1:11-CV-I0088
v.

FORSYTH LAW OFFICES, P.C.
            Defendant


                               STIPULATION OF DISMISSAL


       The parties hereby stipulate that this action shall be and hereby is dismissed with

prejudice, without costs, and with all rights of appeal waived.


CHRISTINA BAREFOOT,                                    FORSYTH LAW OFFICES, P.C.,

                                                       By its attorneys,
By her attorneys,


Isl Craig T. Kimmel                                    Isl John J 0 'Connor
Craig T. Kimmel, Esquire                               John J. O'Connor, Esq.
Kimmel & Silverman                                     BBO # 555251
30 East Butler Pike                                    PEABODY & ARNOLD LLP
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                                                       j oconnor~peabodyarnold.com

 Dated: May 11,2011
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                                 CERTIFICATE OF SERVICE

       I, John J. 0 ' Connor, hereby certify that on the 11 th day of May, 2011, I served the
attached by causing a copy thereof to be sent via ECF on the following:

                               Craig T. Kimmel, Esquire
                               Kimmel & Silverman
                               30 East Butler Pike
                               Ambler, P A 190


                                                       Isl John J 0 'Connor



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